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Diana Toebbe – Guideline Range Options
BOL 37 – Other than Top Secret (includes Restricted Data; Confidential classification)
BOL 42 – Top Secret
 Guidelines as                Accept Binding Plea             If Top Secret                If went to trial               If went to trial
 calculated in PSR            (BOL 37)                        (BOL 42)                     (Based on BOL 37)              (Based on BOL 42)
 (BOL 37)                     (With -3 levels for             (With -3 levels for          (No Acceptance)                (No Acceptance)
 (With -3 levels for          Acceptance)                     Acceptance)
 Acceptance

 Imprisonment:                Imprisonment:                   Imprisonment:                Imprisonment:                  Imprisonment:
 151 to 188 months            NMT 36 months                   262 to 327 months            210 to 262 months              360 months to Life

 Fine:               Fine:                                    Fine:               Fine:                                   Fine:
 $35,000 to $100,000 $35,000 to $100,000                      $50,000 to $100,000 $40,000 to $100,000                     $50,000 to $100,000



USSG § 2M3.1 Application Notes:
1. “Top secret information” is information that, if disclosed, “reasonably could be expected to cause exceptionally grave damage to the national
security.” Executive Order 13526 (50 U.S.C. § 3161 note).

2. The Commission has set the base offense level in this subpart on the assumption that the information at issue bears a significant relation to
the nation’s security, and that the revelation will significantly and adversely affect security interests. When revelation is likely to cause little or
no harm, a downward departure may be warranted. See Chapter Five, Part K (Departures).

3. The court may depart from the guidelines upon representation by the President or his duly authorized designee that the imposition of a
sanction other than authorized by the guideline is necessary to protect national security or further the objectives of the nation’s foreign policy.

Background: Offense level distinctions in this subpart are generally based on the classification of the information gathered or transmitted. This
classification, in turn, reflects the importance of the information to the national security.
